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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                )
                                             )
              Plaintiffs,                    )
                                             )
vs.                                          )
                                             )
GRANDE COMMUNICATIONS                              Cause No. 1:17-cv-00365-LY
                                             )
NETWORKS LLC and PATRIOT MEDIA               )
CONSULTING, LLC,                             )
                                             )
              Defendants.
                                             )
                                             )

      [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW MOTION TO
      AUTHORIZE SERVICE OF THIRD-PARTY SUBPOENA BY U.S. MARSHAL

       Having considered Defendant Grande Communications Networks LLC’s Motion to

Withdraw its Motion to Authorize Service of Third-Party Subpoena by U.S. Marshal, the Court

finds good cause that the Motion to Withdraw should be GRANTED because the Motion to

Authorize Service of Third-Party Subpoena by U.S. Marshal is now moot.



       SO ORDERED this __ day of June, 2018.



                                          _______________________________________
                                          HONORABLE LEE YEAKEL
                                          UNITED STATES DISTRICT JUDGE
